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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                         x
KATHERINE WANDEL, Individually and on    :
                                             Civil Action No.
Behalf of All Others Similarly Situated, :
                                         :
                       Plaintiff,            CLASS ACTION
                                         :
                                         :
      vs.                                :
                                             COMPLAINT FOR VIOLATIONS
                                         :
JING GAO, DEREK BOYANG SHEN, YAN             OF THE SECURITIES ACT OF 1933
                                         :
CUI, WENBIAO LI, ERHAI LIU, XIAN CHEN, :
WILLIAM WANG, GANG JI, EDWIN FUNG, :
JIANPING YE, JASON ZHENG ZHANG,          :
CITIGROUP GLOBAL MARKETS INC.,           :
CREDIT SUISSE SECURITIES (USA) LLC, J.P. :
MORGAN SECURITIES LLC, TIGER             :
BROKERS (NZ) LIMITED, US TIGER           :
SECURITIES, INC., COGENCY GLOBAL INC., :
RICHARD ARTHUR and PHOENIX TREE          :
HOLDINGS LIMITED,                        :
                                         :
                       Defendants.           JURY TRIAL DEMANDED
                                         :
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       Plaintiff Katherine Wandel (“Plaintiff”), individually and on behalf of all others similarly

situated, alleges the following based upon personal knowledge as to Plaintiff’s own acts and upon

information and belief as to all other matters based on the investigation conducted by counsel, which

included, among other things, a review of public Securities and Exchange Commission (“SEC”)

filings of Phoenix Tree Holdings Limited (“Phoenix” or the “Company”), press releases, analyst and

media reports, and other public reports and information about the Company. Plaintiff believes that

substantial additional evidentiary support exists for the allegations set forth herein, which evidence

will be developed after a reasonable opportunity for discovery.

                                  NATURE OF THE ACTION

       1.       This is a securities class action on behalf of all purchasers of American Depositary

Shares of Phoenix (“ADS”) pursuant and/or traceable to prospectuses and registration statements, as

amended (together, “Offering Materials”), issued in connection with the Company’s January 22,

2020 initial public offering (“IPO”), seeking to pursue remedies under Sections 11, 12(a)(2) and 15

of the Securities Act of 1933 (“1933 Act”) against Phoenix, certain of its officers and directors

(“Individual Defendants”), the IPO underwriters (“Underwriter Defendants”), and others (detailed

below, but referred to collectively with the other defendants as “Defendants”).

       2.       Phoenix is a Cayman Islands holding company that leases and manages apartments in

China, which it rents to tenants under the Danke Apartment and Dream Apartment brands. This case

seeks to hold Defendants accountable in strict liability and negligence for preparing the defective

Offering Materials in connection with the IPO. As detailed herein, the Offering Materials omitted or

otherwise misrepresented the nature and level of renter complaints the Company had received before

and as of the IPO, as well as demand in the Chinese residential rental market, and the Company’s

exposure to significant adverse developments, resulting from the onset of the coronavirus in China –

particularly in Wuhan – at the time of the IPO.

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        3.       At the time of the IPO, Phoenix generated revenue primarily from rents and service

fees. As of September 30, 2019, it operated in 13 cities in China, including Wuhan, where a portion

of its 5,000-plus employees worked. Unbeknownst to ADS purchasers, however, Phoenix was

uniquely exposed to fallout from the worsening coronavirus pandemic, especially in Wuhan. And

the Company faced serious complaints from renters as of the IPO, both due to the coronavirus and

even before its onset, which implicated the Company’s reputation and threatened to adversely affect

its business.

        4.       The Offering Materials did not disclose these critical facts. Yet after the IPO, reports

emerged indicating that Phoenix was experiencing ongoing problems due to the coronavirus, which

was causing financial and other harm to tenants. On March 25, 2020, when Phoenix announced its

unaudited financial results for the fourth quarter and fiscal year ended December 31, 2019, it told

investors that it expected the coronavirus to adversely affect its financial performance for the nearly

completed first quarter of 2020. Information regarding ongoing renter complaints also reached the

market after the IPO, adversely affecting the Company.

        5.       Accordingly, the Offering Materials omitted and misrepresented material information,

which misled Plaintiff and other members of the proposed Class (defined below) about the current

and future prospects of the Company and the risks associated with purchasing the ADS. As a result,

Plaintiff and other Class members bought the ADS without knowledge of material facts regarding

Phoenix and were damaged thereby. This action seeks to recover damages for these purchasers.

                                   JURISDICTION AND VENUE

        6.       The claims alleged herein arise under Sections 11, 12(a)(2) and 15 of the 1933 Act

[15 U.S.C. §§77k, 77l(a)(2) and 77o].

        7.       This Court has jurisdiction over the subject matter of this action pursuant to

Section 22 of the 1933 Act [15 U.S.C. §77v] and 28 U.S.C. §1331.

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        8.       Venue is proper in this District pursuant to Section 22 of the 1933 Act and 28 U.S.C.

§1391(b) and (c). Among other things:

                 (a)    Defendants conducted the IPO in this District, drafted the Offering Materials

in part in this District, disseminated the misleading statements at issue in this District, and solicited

ADS purchasers here. The Company, presumably at the direction or with the consent of its directors,

also engaged the services of U.S.-based professionals for the IPO. These professionals included the

law firm of Simpson Thacher & Bartlett LLP, which advised the Company on matters involving the

U.S. federal securities laws and New York law.

                 (b)    The Underwriter Defendants have substantial operations and/or conduct

substantial business in this District (directly or via agents), and defendants Citigroup Global Markets

Inc. (“Citigroup”), Credit Suisse Securities (USA) LLC (“Credit Suisse”), J.P. Morgan Securities

LLC (“J.P. Morgan”), and US Tiger Securities, Inc. (“Tiger Securities”) are headquartered in this

District and represented Phoenix and all or some of the other Defendants in carrying out the IPO in

this District. Some or all of the Underwriter Defendants engaged the law firm of Latham & Watkins

LLP, which advised them on matters involving the U.S. federal securities laws and New York law.

                 (c)    The Underwriter Defendants delivered ADS against payment in this District;

the corporate trust office of the depositary – Citibank, N.A., 388 Greenwich Street, New York, New

York 10013 – at which the ADS were to be, and are, administered, is located in this District; and the

ADS publicly trade on the New York Stock Exchange (“NYSE”), located in this District.

                 (d)    In addition, pursuant to the IPO underwriting agreement, Phoenix “legally,

validly, effectively and irrevocably submitted, to the personal jurisdiction of each United States

federal court and New York state court located in the Borough of Manhattan, in The City of New

York, New York, U.S.A. . . . [and] validly and irrevocably waived any objection to the laying of

venue of any suit, action or proceeding brought in any such court . . . .”

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       9.       Accordingly, the situs of this action lies within this District, Defendants’ tortious acts

occurred in this District and caused injury to purchasers of ADS deposited in this District, and each

of Defendants and Class members would foreseeably expect any case or controversy stemming from

the IPO to be adjudicated in this District.

                                              PARTIES

       10.      Plaintiff purchased the ADS on January 17, 2020 at the IPO price of $13.50 per share

in the IPO and pursuant and/or traceable to the Offering Materials and has been damaged thereby.

       11.      Defendant Phoenix is a Cayman Islands company that leases and operates properties

in China and rents apartments to individuals and corporations, primarily for co-living arrangements

in which the tenants, who may not have previously known each other, live together. It conducted the

IPO in New York and its ADS trade on the NYSE under the ticker symbol “DNK.” Each ADS

represents ten Class A ordinary shares of Phoenix. The Company’s Class B ordinary shares, which

were issued in connection with the IPO to defendant Jing Gao (“Gao”), carry 20 votes per share, as

compared to one vote for each Class A ordinary share.

       12.      Defendant Gao, Phoenix’s co-founder, was its Chief Executive Officer and a member

of its Board of Directors (“Board”) as of the IPO. He signed the Offering Materials for the IPO.

       13.      Defendant Derek Boyang Shen was Phoenix’s Chairman of the Board as of the IPO.

He signed the Offering Materials for the IPO.

       14.      Defendant Yan Cui, Phoenix’s co-founder, was its President and a member of its

Board as of the IPO. He signed the Offering Materials for the IPO.

       15.      Defendant Wenbiao Li was a member of the Board as of the IPO. He signed the

Offering Materials for the IPO.

       16.      Defendant Erhai Liu was a member of the Board as of the IPO. He signed the

Offering Materials for the IPO.

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       17.     Xian Chen was a member of the Board who signed the Offering Materials.

       18.     William Wang was a member of the Board who signed the Offering Materials.

       19.     Defendant Gang Ji was a member of the Board as of the IPO. He signed the Offering

Materials for the IPO.

       20.     Defendant Edwin Fung was a member of the Board as of the IPO. The Offering

Materials indicate that he accepted appointment as a director effective upon the SEC’s declaration of

effectiveness of the Offering Materials.

       21.     Defendant Jianping Ye was a member of the Board as of the IPO. The Offering

Materials indicate that he accepted appointment as a director effective upon the SEC’s declaration of

effectiveness of the Offering Materials.

       22.     Defendant Jason Zheng Zhang was Phoenix’s Chief Financial Officer as of, and after,

the IPO. He signed the Offering Materials for the IPO.

       23.     Defendant Cogency Global Inc. (“Cogency Global”) is based in New York and was

Phoenix’s Authorized U.S. Representative for the IPO. Defendant Richard Arthur (“Arthur”),

Assistant Secretary of Cogency Global, signed the Offering Materials as an employee of Cogency

Global. Cogency Global is liable for the securities law violations by defendant Arthur in its capacity

as his employer, based on principles of agency and respondeat superior, and also as a control person

under the 1933 Act.

       24.     The individual defendants identified above are referred to herein as the “Individual

Defendants.” As directors, executive officers, controlling shareholders and/or representatives and

agents of the Company, the Individual Defendants participated in the solicitation and sale of ADS to

investors in the IPO for their own benefit and the benefit of Phoenix.

       25.     The Underwriter Defendants are Citigroup, Credit Suisse, J.P. Morgan, Tiger Brokers

(NZ) Limited (“Tiger Brokers”) and Tiger Securities. They served as underwriters of the IPO,

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solicited purchasers of the ADS, and/or sold the ADS, in exchange for which they received millions

of dollars in fees and commissions. The Underwriter Defendants’ failure to conduct adequate due

diligence in connection with the IPO and preparation of the Offering Materials was a substantial

factor leading to the harm complained of herein.

                               SUBSTANTIVE ALLEGATIONS

       26.     On October 28, 2019, Phoenix filed with the SEC a registration statement on Form F-

1 for the IPO, which, after three amendments, was declared effective on January 16, 2020. The next

day, January 17, 2020, Phoenix filed the Final Prospectus for the IPO on Form 424B4, which

incorporated and formed part of the Registration Statement. Together, these Offering Materials were

used to sell 9.6 million ADS, representing 96 million Class A ordinary shares, at $13.50 per share.

The Underwriter Defendants also exercised their option to purchase an additional 304,933 ADS. As

a result, the Company received total net proceeds of approximately $128.4 million, after deducting

underwriting discounts and commissions. The IPO was completed on January 22, 2020.

       27.     The Offering Materials favorably portrayed Phoenix’s business, emphasizing its focus

on residents and customer service while cautioning, in the most general way, that complaints made

by residents and market rumors could adversely affect the Company’s business and operations. For

example, the Offering Materials broadly stated: “Regulatory inquiries or investigations, lawsuits and

other claims in the ordinary course of our business, perceptions of conflicts of interest, complaints

made by our residents and market rumors, among other things, could substantially damage our

reputation, even if they are baseless or fully addressed.”

       28.     Additionally, the Offering Materials described, without accounting for current events,

a highly competitive residential rental market as of the IPO. As the Offering Materials represented:

“The residential rental market [in China] is highly competitive, and we face competition in several



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major aspects of our business.” Yet the Offering Materials represented that Phoenix was competing

effectively because of its data-driven and technological infrastructure and advantages, stating:

        We run Danke like a data science company. As our founders are technology veterans,
        technology is deeply rooted in our DNA. At the core of our technology system is our
        proprietary artificial intelligence decision engine, or “Danke Brain,” which makes
        real-time and unbiased decisions based on data analytics to guide each step of our
        business operations and generate valuable business intelligence. Danke Brain has
        self-learning capability. It is able to apply what it learns in existing cities and
        neighborhoods to new cities and neighborhoods, and improves from each transaction
        and interaction. It reduces our reliance on local expertise, enables higher efficiency
        and facilitates rapid expansion. Danke Brain is supported by our big data platform,
        which continually processes and structurizes a massive amount of data with over 100
        dimensions. Connecting everything together, our IT infrastructure digitizes our
        business operation and links all of our employees, property owners, residents and
        third-party service providers.

        29.     As the Offering Materials further represented: “We see China’s overall residential

rental market as our total addressable market and residential rental market in tier 1 and tier 2 cities as

our serviceable addressable market. We see the provision of value-added services to renters as an

incremental opportunity beyond that presented by the residential rental market.”

        30.     By the time of the IPO, however, Phoenix was the subject of numerous complaints

from tenants in China for engaging in questionable conduct. For example, tenants complained about

Phoenix’s practice of signing them up for bank loans without their knowledge or authorization and

using the loan proceeds to fund its operations, while tenants unwittingly repaid the loans in monthly

installments akin to rent.

        31.     Additionally, the Offering Materials obliquely warned that the Company’s “business

could also be adversely affected by the effects of Ebola virus disease, H1N1 flu, H7N9 flu, avian flu,

Severe Acute Respiratory Syndrome, or SARS, or other epidemics,” noting that “operations could be

disrupted” if employees are suspected of having any such disease or condition and financial results

could be adversely affected if the Chinese economy is harmed by any such epidemic. But as of the

effective date of the Offering Materials, the coronavirus was already ravaging China – particularly

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Wuhan, which was widely regarded as the epicenter of the virus and a significant hub for Phoenix.

And complications associated with the coronavirus were adversely affecting Phoenix’s business, as

tenants contracted the virus, lost employment, or otherwise experienced difficulty in honoring their

leases and paying their rent.

       32.     Furthermore, as the coronavirus continued to spread in China shortly after the IPO,

tenants complained of Phoenix’s handling of the situation, which harmed the Company’s reputation

and financial condition and prospects. Because the Offering Materials did not disclose anything

about the coronavirus, much less the impact it was then having or could have on the Company, ADS

purchasers had no opportunity to consider how the worsening situation might impact the Company,

including the Company’s relationship with its renters.

       33.     These issues presented known trends, uncertainties and risks that required disclosure

in the Offering Materials. Specifically, Item 5 of Part I of Form 20-F, incorporated by reference into

the Offering Materials, required Phoenix to disclose its “management’s assessment of factors and

trends which are anticipated to have a material effect on the company’s financial condition and

results of operations in future periods.” The level of disclosure required thereunder was coextensive

with, and substantively identical to, that required by Item 303 of SEC Regulation S-K.

       34.     Moreover, Item 105 (formerly, Item 503) of Regulation S-K required disclosure in the

Offering Materials of “the most significant factors that ma[d]e an investment in [Phoenix or the IPO]

speculative or risky,” as well as an explanation of “how the risk affect[ed] [Phoenix] or the securities

being offered.” As detailed herein, the Offering Materials failed to disclose material facts necessary

to apprise ADS purchasers of the true risks inherent in investing in the Company.

       35.     Accordingly, the Offering Materials’ representations concerning ongoing demand and

competition in the residential rental market as of the IPO, Phoenix’s unique position in the market to

leverage technology in a competitive marketplace as of the IPO, and the generic risk of customer

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complaints and market rumors, were materially incomplete and misleading because they omitted and

otherwise misrepresented the following facts:

               a)      That Phoenix had received customer complaints and negative press regarding

questionable business conduct before the IPO, including its widespread and notorious practice of

deceptively inducing renters to procure loans whose proceeds financed the Company’s business and

operations;

               b)      That competition in the residential rental market in China had suffered at the

time of the IPO as the coronavirus ravaged the very locations where Phoenix primarily operated,

including Wuhan, the epicenter of the pandemic;

               c)      That Phoenix’s technological capabilities were unable to enable the Company

to overcome the complications and erosion of business resulting from the spread of the coronavirus

throughout China at the time of the IPO;

               d)      That Phoenix was contending with extraordinarily adverse developments in

China at the time of the IPO due to the coronavirus that presented events, risks and uncertainties that

were reasonably likely to materially affect Phoenix’s business, operations and financial condition,

including a material increase in renter complaints and negative press and the prospect that renters

could not continue to pay rent and service fees under conditions then existing as of the IPO; and

               e)      That, as a result of the foregoing, Phoenix was positioned no differently than

its competitors in managing the fallout from customer complaints or adverse implications stemming

from the coronavirus in China.

       36.     Information about renter complaints reached the market after the IPO as Phoenix’s

going-public transaction was publicized, and investors began to understand that the coronavirus was

significantly and adversely impacting the Company’s business and operations. On March 25, 2020,

Phoenix issued a press release announcing its unaudited financial results for the fourth quarter and

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fiscal year ended December 31, 2019. At that time, Phoenix cautioned investors that it expected the

coronavirus to adversely affect its financial performance for the first quarter of 2020. Information

regarding these issues adversely affected the trading price of the ADS.

                               CLASS ACTION ALLEGATIONS

       37.      Plaintiff brings this action as a class action under Federal Rules of Civil

Procedure 23(a) and 23(b)(3) on behalf of a class consisting of all persons or entities who purchased

Phoenix ADS pursuant and/or traceable to the Offering Materials (the “Class”). Excluded from the

Class are Defendants and their families; the officers, directors and affiliates of Defendants and

members of their immediate families; the legal representatives, heirs, successors or assigns of any of

the foregoing; and any entity in which any Defendant has or had a controlling interest.

       38.      The members of the Class are so numerous that joinder is impracticable. Phoenix

ADS are actively traded on the NYSE and millions of shares were sold in the IPO. While the exact

number of Class members is unknown to Plaintiff at this time and can only be ascertained through

discovery, Plaintiff believes there are hundreds, if not thousands, of members in the Class. Record

owners and other Class members may be identified from records procured from or maintained by the

Company or its transfer agent and may be notified of the pendency of this action using a form of

notice similar to that customarily used in securities class actions.

       39.      Common questions of law and fact exist as to all Class members and predominate

over any questions solely affecting individual Class members. Among the common questions of law

and fact are:

                (a)    whether Defendants violated the 1933 Act, as alleged herein;

                (b)    whether the Offering Materials misrepresented and/or omitted material

information in violation of the 1933 Act; and



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                (c)      whether and to what extent Class members have sustained damages, as well as

the proper measure of damages.

        40.     Plaintiff’s claims are typical of the claims of the Class, as all Class members were

similarly affected by Defendants’ conduct.

        41.     Plaintiff will fairly and adequately protect the interests of Class members and has

retained counsel competent and experienced in securities class actions.

        42.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. Because the damages suffered by individual Class members may

be relatively small, the expense and burden of individual litigation make it exceedingly difficult, if

not impossible and impracticable, for Class members to individually redress the wrongs alleged.

There will be no difficulty in managing this action as a class action.

                                              COUNT I

                            For Violations of Section 11 of the 1933 Act
                                      Against All Defendants

        43.     Plaintiff repeats, incorporates, and realleges each and every allegation set forth above

as if fully set forth herein.

        44.     This Count is brought under Section 11 of the 1933 Act [15 U.S.C. §77k] on behalf of

the Class, against all Defendants. This Count does not allege, and does not intend to allege, fraud or

fraudulent intent, which is not a required element of Section 11, and any implication of fraud or

fraudulent intent is hereby expressly disclaimed.

        45.     The Registration Statement, which was incorporated in and formed part of the

Offering Materials for the IPO, contained inaccurate and misleading statements of material fact,

omitted facts necessary to render statements therein non-misleading, and omitted to state material

facts required to be stated therein.


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        46.     Phoenix is the registrant for the IPO. Defendants named herein were responsible for

the contents and dissemination of the Offering Materials, and the Individual Defendants each signed

and/or authorized the signing of the Offering Materials or were designated as director-nominees.

Further, Cogency Global employed defendant Arthur, and, therefore, is responsible for his

Section 11 violations under principles of agency and respondeat superior. The Underwriter

Defendants marketed and underwrote the IPO and sold ADS to investors.

        47.     As the issuer of the shares, Phoenix is strictly liable to Plaintiff and the Class for the

Offering Materials’ material misstatements and omissions. Signatories of the Offering Materials,

and possibly other Defendants, may also be strictly liable to Plaintiff and the Class for such material

misstatements and omissions.

        48.     None of Defendants made a reasonable investigation or possessed reasonable grounds

to believe that the statements in the Offering Materials were complete, accurate or non-misleading.

        49.     By reason of the conduct alleged herein, each defendant violated, and/or controlled a

person who violated, Section 11 of the 1933 Act.

        50.     Plaintiff and the Class members purchased the ADS pursuant and/or traceable to the

Registration Statement, and have sustained damages as a result. The value of the ADS has declined

substantially subsequent and due to Defendants’ violations.

        51.     At the time of their purchases of the ADS, Plaintiff and other members of the Class

were without knowledge of the facts concerning the wrongful conduct alleged herein.

        52.     Less than one year elapsed from the time that Plaintiff discovered, or reasonably

could have discovered, the facts upon which these claims are based to the time that Plaintiff filed this

action. Less than three years has elapsed between the time the securities were offered to the public

and the time Plaintiff filed this action.



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                                         SECOND COUNT

                         For Violation of Section 12(a)(2) of the 1933 Act
                                     Against All Defendants

        53.     Plaintiff repeats, incorporates, and realleges each and every allegation set forth above

as if fully set forth herein.

        54.     This Count is brought under Section 12(a)(2) of the 1933 Act [15 U.S.C. §771(a)(2)]

on behalf of the Class, against all Defendants. This Count does not allege, and does not intend to

allege, fraud or fraudulent intent, which is not a required element of Section 12(a)(2), and any

implication of fraud or fraudulent intent is hereby expressly disclaimed.

        55.     By means of the defective Prospectus, which was incorporated in and formed part of

the Offering Materials for the IPO, Defendants promoted and sold, for the benefit of themselves and

their associates, ADS to Plaintiff and other members of the Class. In the absence of their efforts to

publicize the IPO and solicit ADS purchasers, the IPO could not have occurred. Moreover, Cogency

Global, which employed and directed defendant Arthur, is responsible for his Section 12(a)(2)

violations under principles of agency and respondeat superior.

        56.     Additionally, Phoenix qualifies as a statutory seller under SEC Rule 159A, which

provides that an issuer is a statutory seller for the purpose of Section 12(a)(2) regardless of the form

of underwriting.

        57.     The Offering Materials contained untrue statements of material fact and failed to

disclose material facts, as detailed above. Defendants owed Plaintiff and the other Class members a

duty to make a reasonable and diligent investigation of the statements contained in the Offering

Materials to ensure they were truthful and accurate. In the exercise of reasonable care, Defendants

should have known of the misstatements and omissions contained in the Offering Materials.

        58.     Plaintiff did not know, nor in the exercise of reasonable diligence could have known,

of the untruths and omissions contained in the Offering Materials when purchasing the ADS.
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        59.     By reason of the conduct alleged herein, Defendants violated Section 12(a)(2) of the

1933 Act. As a direct and proximate result of these violations, Plaintiff and other members of the

Class who purchased the ADS pursuant to the Offering Materials sustained substantial damages in

connection with their purchases. Accordingly, Plaintiff and the other members of the Class who

hold ADS issued pursuant to the Offering Materials have the right to rescind and recover the

consideration paid for their shares, and hereby tender their ADS to Defendants. Class members who

have sold their ADS seek damages to the extent permitted by law.

                                          THIRD COUNT

                          For Violation of Section 15 of the 1933 Act
                 Against Phoenix, Cogency Global, the Individual Defendants,
                                      and Tiger Brokers

        60.     Plaintiff repeats, incorporates, and realleges each and every allegation set forth above

as if fully set forth herein.

        61.     This Count is brought under Section 15 of the 1933 Act [15 U.S.C. §77o] against

Phoenix, Cogency Global, the Individual Defendants, and Tiger Brokers. This Count does not

allege, and does not intend to allege, fraud or fraudulent intent, which is not a required element of

Section 15, and any implication of fraud or fraudulent intent is hereby expressly disclaimed.

        62.     As detailed herein, each of the Defendants committed primary violations of the

1933 Act, or are directly responsible and primarily liable for any such violations, by committing

conduct in contravention of Sections 11 and 12(a)(2) or having responsibility for such conduct.

        63.     The Company controlled all of the Individual Defendants and Cogency Global, which

it employed as its U.S. representative in connection with the IPO and otherwise. Cogency Global,

through defendant Arthur, executed the Offering Materials on behalf of Phoenix at its direction, and

committed primary violations of the 1933 Act as a result. Alternatively, because Arthur possessed



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and exercised the authority to sign the Offering Materials and bind the Company accordingly, he had

control over the Company in connection with the IPO.

       64.     The Individual Defendants, other than Arthur, each were control persons of Phoenix

by virtue of their positions as directors and/or senior officers of the Company. They each had direct

and/or indirect business and/or personal relationships with other directors, officers and/or major

shareholders of the Company. Alternatively, the Company controlled the Individual Defendants,

given the influence and control the Company possessed and exerted over the Individual Defendants.

       65.     And Tiger Brokers controlled Tiger Securities, the broker-dealer through which Tiger

Brokers offered ADS for sale in the U.S. for purposes of the IPO. Without Tiger Brokers’ direction,

control, and involvement in the IPO, Tiger Securities would not have offered the ADS for sale.

Accordingly, Tiger Brokers controlled Tiger Securities for the purpose of this claim and is therefore

responsible for Tiger Securities’ violation of Sections 11 and 12(a)(2) under principles of agency and

respondeat superior.

       66.     By reason of the conduct alleged herein, these defendants violated Section 15 of the

1933 Act, and Plaintiff and the Class have suffered harm as a result.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the proposed Class, respectfully prays

for judgment against Defendants as follows:

       A.      Determining that this action is properly brought as a class action and certifying the

Class accordingly, designating Plaintiff as Lead Plaintiff and Class representative, and appointing

Robbins Geller Rudman & Dowd LLP as Lead Counsel and Class Counsel;

       B.      Awarding Plaintiff and the Class compensatory damages against all Defendants,

jointly and severally, for all damages sustained as a result of Defendants’ wrongdoing, in an amount

to be proven at trial, together with prejudgment interest thereon;

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       C.      Awarding rescission or a rescissory measure of damages, to the extent available under

the 1933 Act, together with prejudgment interest thereon;

       D.      Awarding Plaintiff and the Class their reasonable costs and expenses incurred in this

action, including, but not limited to, attorneys’ fees and costs incurred by consulting and testifying

expert witnesses; and

       E.      Granting such other, further and/or different relief as the Court deems just and proper.

                                    JURY TRIAL DEMAND

       Plaintiff hereby demands a trial by jury.

DATED: April 24, 2020                            ROBBINS GELLER RUDMAN
                                                   & DOWD LLP
                                                 SAMUEL H. RUDMAN
                                                 JOSEPH RUSSELLO


                                                               /s/ Samuel H. Rudman
                                                              SAMUEL H. RUDMAN

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                                                 Additional counsel for Plaintiff




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                                 CERTIFICATE OF SERVICE

       I hereby certify under penalty of perjury that on April 24, 2020, I authorized a true and

correct copy of the foregoing document to be electronically filed with the Clerk of the Court

using the CM/ECF system, which will send notification of such public filing to all counsel

registered to receive such notice.


                                                             /s/ Samuel H. Rudman
                                                            SAMUEL H. RUDMAN

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                                  CERTIFICATION OF PLAINTIFF PURSUANT
                                       TO THE FEDERAL SECURITIES LAWS
                   I, Katherine Wandel, declare the following as to the claims asserted, or to be asserted,
            under the federal securities laws:
                     1.      I have reviewed the complaint with my counsel and authorize its filing.

                     2.      I did not acquire the securities that are the subject of this action at the direction of

            plaintiff’s counsel or in order to participate in any private action or any other litigation under the

            federal securities laws.

                     3.      I am willing to serve as a representative party on behalf of the class, including

            testifying at deposition or trial, if necessary.
                     4.      I made the following transactions during the Class Period in the securities that are

            the subject of this action.


            Acquisitions:                                           Number of Shares         Acquisition Price Per
                                             Date Acquired             Acquired                     Share
                                                1/17/2020                   100                      $13.50




            Sales:                                 N/A




                     5.      I will not accept any payment for serving as a representative party beyond my

            pro-rata share of any recovery, except reasonable costs and expenses – such as lost wages and

            travel expenses – directly related to the class representation, as ordered or approved by the Court

            pursuant to law.
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                     6.      I have not sought to serve or served as a representative party for a class in an

            action under the federal securities laws within the past three years, except if detailed below:




                     I declare under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct.

                     Executed this 23rd day of April, 2020.



                                                             __________________________________________
                                                             Katherine Wandel
